               Case 1:24-bk-12519                  Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                Desc Main
                                                                Document     Page 1 of 64

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Amarjit
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Kaur
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0234
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
              Case 1:24-bk-12519                Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                              Desc Main
                                                            Document     Page 2 of 64
Debtor 1   Amarjit Kaur                                                                              Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 5356 Elmwood Lane
                                 Liberty Township, OH 45044
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Butler
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case 1:24-bk-12519                 Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                Desc Main
                                                              Document     Page 3 of 64
Debtor 1    Amarjit Kaur                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 1:24-bk-12519                 Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                             Desc Main
                                                               Document     Page 4 of 64
Debtor 1    Amarjit Kaur                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and           operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business       in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small         No.      I am not filing under Chapter 11.
    business debtor, see 11
    U.S.C. § 101(51D).
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              Case 1:24-bk-12519                   Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                             Desc Main
                                                               Document     Page 5 of 64
Debtor 1    Amarjit Kaur                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 1:24-bk-12519                Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                     Desc Main
                                                            Document     Page 6 of 64
Debtor 1    Amarjit Kaur                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Amarjit Kaur
                                 Amarjit Kaur                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 28, 2024                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
              Case 1:24-bk-12519                  Doc 1          Filed 10/29/24 Entered 10/29/24 20:43:57                            Desc Main
                                                                 Document     Page 7 of 64
Debtor 1   Amarjit Kaur                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ David Andrade                                                  Date         October 28, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                David Andrade
                                Printed name

                                Andrade Law Office
                                Firm name

                                214 S. Breiel BLVD
                                Suite A
                                Middletown, OH 45044
                                Number, Street, City, State & ZIP Code

                                Contact phone     5132522502                                 Email address         david@theandradelaw.com
                                0071979 OH
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 1:24-bk-12519                          Doc 1          Filed 10/29/24 Entered 10/29/24 20:43:57                                               Desc Main
                                                                         Document     Page 8 of 64
Fill in this information to identify your case:

Debtor 1                   Amarjit Kaur
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             573,550.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              51,850.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             625,400.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             408,818.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             147,746.00


                                                                                                                                    Your total liabilities $               556,564.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                9,237.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,237.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
           Case 1:24-bk-12519                 Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                                 Desc Main
                                                         Document     Page 9 of 64
Debtor 1    Amarjit Kaur                                                                Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         12,517.02


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
              Case 1:24-bk-12519                               Doc 1          Filed 10/29/24 Entered 10/29/24 20:43:57                                     Desc Main
                                                                             Document      Page 10 of 64
Fill in this information to identify your case and this filing:

Debtor 1                    Amarjit Kaur
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF OHIO

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       5356 Elmwood Lane                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       Liberty Township                  OH        45011-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $573,550.00                $573,550.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              fee simple
       Butler                                                                         Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $573,550.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
              Case 1:24-bk-12519                    Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                                          Desc Main
                                                                 Document      Page 11 of 64
Debtor 1         Amarjit Kaur                                                                                      Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      mercedes benz                            Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     S class                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2019                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              104,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                  $41,000.00                 $41,000.00
                                                                 (see instructions)



  3.2    Make:      mercedes benz                            Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     M class                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2015                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                98000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                    $5,000.00                 $5,000.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $46,000.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   tv $300, chairs tables $100, washer dryer $200, refrigerator $250,
                                   over $200, computer $300, beds $400                                                                                            $1,750.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....


Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
           Case 1:24-bk-12519                                    Doc 1             Filed 10/29/24 Entered 10/29/24 20:43:57                          Desc Main
                                                                                  Document      Page 12 of 64
Debtor 1         Amarjit Kaur                                                                                               Case number (if known)

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          clothes                                                                                                                  $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          rings, earrings                                                                                                          $600.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $2,550.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       fsa account                             fsa childcare                                                      $850.00



                                            17.2.       fsa                                     fsa regular account                                                   $0.00


Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
           Case 1:24-bk-12519                          Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                              Desc Main
                                                                  Document      Page 13 of 64
Debtor 1        Amarjit Kaur                                                                                    Case number (if known)

                                                                              bank of america Keshav Transport llc
                                        17.3.    business checking            account                                                           $1,500.00



                                        17.4.    checking                     fifth third bank personal checking                                 $500.00



                                        17.5.    savings                      american express savings                                           $400.00



                                        17.6.    checking                     bank of america checking personal $50                                  $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                 % of ownership:

                                          Keshav Transport LLC, no assets                                             100          %                  $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...




Official Form 106A/B                                                   Schedule A/B: Property                                                         page 4
            Case 1:24-bk-12519                            Doc 1          Filed 10/29/24 Entered 10/29/24 20:43:57                                             Desc Main
                                                                        Document      Page 14 of 64
Debtor 1        Amarjit Kaur                                                                                                    Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $3,300.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 5
             Case 1:24-bk-12519                              Doc 1           Filed 10/29/24 Entered 10/29/24 20:43:57                                               Desc Main
                                                                            Document      Page 15 of 64
Debtor 1         Amarjit Kaur                                                                                                          Case number (if known)

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $573,550.00
56. Part 2: Total vehicles, line 5                                                                           $46,000.00
57. Part 3: Total personal and household items, line 15                                                       $2,550.00
58. Part 4: Total financial assets, line 36                                                                   $3,300.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $51,850.00              Copy personal property total           $51,850.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $625,400.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 6
              Case 1:24-bk-12519                Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                              Desc Main
                                                           Document      Page 16 of 64
Fill in this information to identify your case:

Debtor 1               Amarjit Kaur
                       First Name                    Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     5356 Elmwood Lane Liberty                              $573,550.00                              $161,375.00       Ohio Rev. Code Ann. §
     Township, OH 45011 Butler County                                                                                  2329.66(A)(1)
     Line from Schedule A/B: 1.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     2015 mercedes benz M class 98000                          $5,000.00                                 $4,450.00     Ohio Rev. Code Ann. §
     miles                                                                                                             2329.66(A)(2)
     Line from Schedule A/B: 3.2                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     2015 mercedes benz M class 98000                          $5,000.00                                   $550.00     Ohio Rev. Code Ann. §
     miles                                                                                                             2329.66(A)(18)
     Line from Schedule A/B: 3.2                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     tv $300, chairs tables $100, washer                       $1,750.00                                 $1,750.00     Ohio Rev. Code Ann. §
     dryer $200, refrigerator $250, over                                                                               2329.66(A)(4)(a)
     $200, computer $300, beds $400                                                100% of fair market value, up to
     Line from Schedule A/B: 6.1                                                   any applicable statutory limit

     clothes                                                       $200.00                                 $200.00     Ohio Rev. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                      2329.66(A)(4)(a)
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 1:24-bk-12519                  Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                  Desc Main
                                                        Document      Page 17 of 64
Debtor 1    Amarjit Kaur                                                                       Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    rings, earrings                                            $600.00                                   $600.00        Ohio Rev. Code Ann. §
    Line from Schedule A/B: 12.1                                                                                        2329.66(A)(4)(b)
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    business checking: bank of america                      $1,500.00                                    $925.00        Ohio Rev. Code Ann. §
    Keshav Transport llc account                                                                                        2329.66(A)(18)
    Line from Schedule A/B: 17.3                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    checking: bank of america checking                          $50.00                                    $50.00        Ohio Rev. Code Ann. §
    personal $50                                                                                                        2329.66(A)(3)
    Line from Schedule A/B: 17.6                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
              Case 1:24-bk-12519                     Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                                      Desc Main
                                                                  Document      Page 18 of 64
Fill in this information to identify your case:

Debtor 1                   Amarjit Kaur
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     fifth third                              Describe the property that secures the claim:               $364,836.00               $573,550.00                     $0.00
        Creditor's Name                          5356 Elmwood Lane Liberty
                                                 Township, OH 45011 Butler County
        38 Fountain Square
                                                 As of the date you file, the claim is: Check all that
        Plaza,                                   apply.
        Cincinnati, OH 45263                         Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          2022                      Last 4 digits of account number        1358




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
             Case 1:24-bk-12519                         Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                                 Desc Main
                                                                     Document      Page 19 of 64
Debtor 1 Amarjit Kaur                                                                                        Case number (if known)
              First Name                  Middle Name                      Last Name


        Mercedes-Benz Financial
2.2                                                                                                                 $43,982.00           $41,000.00      $2,982.00
        Services                                   Describe the property that secures the claim:
        Creditor's Name                            2019 mercedes benz S class 104,000
                                                   miles
                                                   As of the date you file, the claim is: Check all that
        35555 W 12 Mile Rd                         apply.
        Farmington, MI 48331                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          2023                        Last 4 digits of account number         1358


  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $408,818.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $408,818.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
              Case 1:24-bk-12519                      Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                                             Desc Main
                                                                   Document      Page 20 of 64
Fill in this information to identify your case:

Debtor 1                   Amarjit Kaur
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Amazon Prime Store Card                                 Last 4 digits of account number         0234                                                        $5,019.00
             Nonpriority Creditor's Name
             410 Terry Ave N                                         When was the debt incurred?             2021
             Seattle, WA 98109-5210
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
                                                                                                               53624
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 21 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.2      American Express                                    Last 4 digits of account number       0234                                                $9,948.00
         Nonpriority Creditor's Name
         200 Vesey St                                        When was the debt incurred?           2021
         New York City, NY 10001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.3      American Express                                    Last 4 digits of account number       0234                                                $2,860.00
         Nonpriority Creditor's Name
         200 Vesey St                                        When was the debt incurred?           2021
         New York City, NY 10001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.4      American Express                                    Last 4 digits of account number       0234                                                 $980.00
         Nonpriority Creditor's Name
         PO Box 6031                                         When was the debt incurred?           2021
         Carol Stream, IL 60197-6031
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 22 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.5      American Express                                    Last 4 digits of account number       0234                                                $5,952.00
         Nonpriority Creditor's Name
         PO Box 6031                                         When was the debt incurred?           2021
         Carol Stream, IL 60197-6031
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.6      At Home DC by Synchrony Bank                        Last 4 digits of account number       0234                                                 $524.00
         Nonpriority Creditor's Name
         777 Long Ridge Rd                                   When was the debt incurred?           2021
         Stamford, CT 06902
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.7      Bank of America                                     Last 4 digits of account number       0234                                                $1,066.00
         Nonpriority Creditor's Name
         PO BOX 982238                                       When was the debt incurred?           2021
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 23 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.8      Barclays Bank                                       Last 4 digits of account number       0234                                                $1,867.00
         Nonpriority Creditor's Name
         PO BOX 8803                                         When was the debt incurred?           2022
         Wilmington, DE 19899
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.9      Barclays Bank                                       Last 4 digits of account number       0234                                                $1,082.00
         Nonpriority Creditor's Name
         PO BOX 8803                                         When was the debt incurred?           2021
         Wilmington, DE 19899
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
0        Best Buy                                            Last 4 digits of account number       0234                                               $11,259.00
         Nonpriority Creditor's Name
         7601 Penn Ave S                                     When was the debt incurred?           2021
         Minneapolis, MN 55423
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 24 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.1
1        Capital One                                         Last 4 digits of account number       0234                                                $5,118.00
         Nonpriority Creditor's Name
         P.O. Box 31293                                      When was the debt incurred?           2022
         Salt Lake City, UT 84131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
2        Capital One                                         Last 4 digits of account number       0234                                                $3,492.00
         Nonpriority Creditor's Name
         P.O. Box 31293                                      When was the debt incurred?           2021
         Salt Lake City, UT 84131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
3        Capital One                                         Last 4 digits of account number       0234                                                 $824.00
         Nonpriority Creditor's Name
         P.O. Box 31293                                      When was the debt incurred?           2022
         Salt Lake City, UT 84131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 25 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.1
4        Chase Bank                                          Last 4 digits of account number       0234                                                 $157.00
         Nonpriority Creditor's Name
         270 Park Ave                                        When was the debt incurred?           2021
         New York, NY 10017
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
5        Chase Bank                                          Last 4 digits of account number       0234                                                 $958.00
         Nonpriority Creditor's Name
         270 Park Ave                                        When was the debt incurred?           2021
         New York, NY 10017
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
6        Citi Bank                                           Last 4 digits of account number       0234                                                $9,416.00
         Nonpriority Creditor's Name
         PO BOX 6241                                         When was the debt incurred?           2021
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 26 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.1
7        Dillards Mastercard                                 Last 4 digits of account number       0234                                                     $23.00
         Nonpriority Creditor's Name
         1600 Cantrell Rd                                    When was the debt incurred?           2021
         Little Rock, AR 72201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
8        Discover                                            Last 4 digits of account number       0234                                               $15,343.00
         Nonpriority Creditor's Name
         2500 Lake Cook Rd                                   When was the debt incurred?           2022
         Deerfield, IL 60015
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.1
9        Discover personal loans                             Last 4 digits of account number       0234                                               $17,524.00
         Nonpriority Creditor's Name
         PO Box 30943                                        When was the debt incurred?           2021
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 9
           Case 1:24-bk-12519                     Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                           Document      Page 27 of 64
Debtor 1 Amarjit Kaur                                                                            Case number (if known)

4.2
0        Fifth Third Bank                                    Last 4 digits of account number       0234                                                $1,723.00
         Nonpriority Creditor's Name
         38 Fountain Square Plaza                            When was the debt incurred?           2021
         Cincinnati, OH 45263
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit


4.2
1        Pentagon Federal Credit                             Last 4 digits of account number       0234                                               $24,921.00
         Nonpriority Creditor's Name
         2930 Eisenhower Ave                                 When was the debt incurred?           2021
         Alexandria, VA 22314
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   account


4.2
2        SoFi Bank                                           Last 4 digits of account number       0234                                               $23,060.00
         Nonpriority Creditor's Name
         234 1st St                                          When was the debt incurred?           2021
         San Francisco, CA 94105
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 9
           Case 1:24-bk-12519                        Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                            Desc Main
                                                                 Document      Page 28 of 64
Debtor 1 Amarjit Kaur                                                                                    Case number (if known)

4.2
3         TD BANK USA/TARGETCREDIT                                 Last 4 digits of account number         0234                                              $4,630.00
          Nonpriority Creditor's Name
          PO BOX 673                                               When was the debt incurred?             2021
          Minneapolis, MN 55440
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   credit

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                        0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                        0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                        0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                        0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  147,746.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  147,746.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 9 of 9
               Case 1:24-bk-12519                      Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                          Desc Main
                                                                    Document      Page 29 of 64
Fill in this information to identify your case:

Debtor 1                  Amarjit Kaur
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      at &t                                                                      assume at&t account
              208 S. Akard Street, Suite 2954,
              Dallas, TX 75202

     2.2      Microf LLC                                                                 $420 a month for 36 months
              2849 Paces Ferry Road SE
              Suite 625
              Atlanta, GA 30339




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
              Case 1:24-bk-12519                         Doc 1          Filed 10/29/24 Entered 10/29/24 20:43:57              Desc Main
                                                                       Document      Page 30 of 64
Fill in this information to identify your case:

Debtor 1                   Amarjit Kaur
                           First Name                            Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
              Case 1:24-bk-12519                  Doc 1    Filed 10/29/24 Entered 10/29/24 20:43:57                               Desc Main
                                                          Document      Page 31 of 64


Fill in this information to identify your case:

Debtor 1                      Amarjit Kaur

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF OHIO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            software engineer                          self employed truck driver
       Include part-time, seasonal, or
       self-employed work.                                         TATA Consultancy Services
                                             Employer's name       Limited                                    Kapish Trucking llc
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   379 Thornail Street                        5356 Elmwood Lane
                                                                   Edison, NJ 08837                           Liberty Township, OH 45044

                                             How long employed there?         19 years                                 5 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1        For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        9,777.00       $             0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      9,777.00             $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 1:24-bk-12519               Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                Desc Main
                                                       Document      Page 32 of 64

Debtor 1   Amarjit Kaur                                                                          Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      9,777.00       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,466.00   $                    0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                    0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                    0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                    0.00
     5e.    Insurance                                                                     5e.        $      1,194.00   $                    0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                    0.00
     5g.    Union dues                                                                    5g.        $          0.00   $                    0.00
     5h.    Other deductions. Specify: FSA                                                5h.+       $        359.00 + $                    0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,019.00       $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          6,758.00       $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $        788.00       $        1,191.00
     8b. Interest and dividends                                                           8b.        $          0.00       $            0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                    0.00
     8g. Pension or retirement income                                                     8g. $                 0.00   $                    0.00
     8h. Other monthly income. Specify: expected bonus net per month                      8h.+ $              500.00 + $                    0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,288.00       $           1,191.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              8,046.00 + $       1,191.00 = $           9,237.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          9,237.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Proposed plan is $2,000 for 36 months, then $2,420 for 24 months.

                             Debtor operates Keshav Transport Bank LLC




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
         Case 1:24-bk-12519                      Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                                  Desc Main
                                                           Document      Page 33 of 64


Fill in this information to identify your case:

Debtor 1                 Amarjit Kaur                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            son                                  5 years             Yes
                                                                                                                                            No
                                                                                   daughter                             10 years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            3,400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
        Case 1:24-bk-12519                     Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                       Desc Main
                                                           Document      Page 34 of 64

Debtor 1     Amarjit Kaur                                                                              Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 77.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                190.00
      6d. Other. Specify: cell phones                                                        6d. $                                                250.00
7.    Food and housekeeping supplies                                                           7. $                                             1,250.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               150.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  270.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,237.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,237.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               9,237.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,237.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,000.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 1:24-bk-12519            Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                            Desc Main
                                                        Document      Page 35 of 64




Fill in this information to identify your case:

Debtor 1                    Amarjit Kaur
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Amarjit Kaur                                                  X
             Amarjit Kaur                                                      Signature of Debtor 2
             Signature of Debtor 1

             Date       October 28, 2024                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
              Case 1:24-bk-12519                  Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                  Desc Main
                                                             Document      Page 36 of 64



Fill in this information to identify your case:

Debtor 1                  Amarjit Kaur
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF OHIO

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $95,432.00           Wages, commissions,
the date you filed for bankruptcy:                                                                            bonuses, tips
                                               bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
           Case 1:24-bk-12519                     Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                  Desc Main
                                                              Document      Page 37 of 64
Debtor 1     Amarjit Kaur                                                                              Case number (if known)



                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

                                                   Wages, commissions,                     $143,257.00           Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For last calendar year:                            Wages, commissions,                      $99,887.00           Wages, commissions,
(January 1 to December 31, 2023 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                           Operating a business


                                                   Wages, commissions,                     $159,540.00           Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
           Case 1:24-bk-12519                        Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                  Desc Main
                                                                Document      Page 38 of 64
Debtor 1     Amarjit Kaur                                                                                Case number (if known)



7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
           Case 1:24-bk-12519                    Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                    Desc Main
                                                             Document      Page 39 of 64
Debtor 1     Amarjit Kaur                                                                            Case number (if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total            Describe what you contributed                           Dates you                       Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and              Describe any insurance coverage for the loss                      Date of your         Value of property
      how the loss occurred                           Include the amount that insurance has paid. List pending          loss                              lost
                                                      insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      David Andrade, Esq.                                       $1000 9-15-2024, $1500 on 10-28-2024                    $1000                      $2,500.00
      214 S Breiel Boulevard Suite A                                                                                    9-15-2024,
      Middletown, OH 45044                                                                                              $1500 on
      david@theandradelaw.com                                                                                           10-28-2024


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
                                                                                                                        made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                              Description and value of                  Describe any property or          Date transfer was
      Address                                                   property transferred                      payments received or debts        made
                                                                                                          paid in exchange
      Person's relationship to you




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
           Case 1:24-bk-12519                        Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                Desc Main
                                                                Document      Page 40 of 64
Debtor 1      Amarjit Kaur                                                                                Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                    have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
           Case 1:24-bk-12519                      Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                    Desc Main
                                                              Document      Page 41 of 64
Debtor 1     Amarjit Kaur                                                                                   Case number (if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you          Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you          Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                    Status of the
      Case Number                                                Name                                                                             case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      Keshav Transports LLC                                transport                                             EIN:       0234
      5356 Elmwood Lane
      Liberty Township, OH 45044                           Ranjeet Singh                                         From-To    2-1-2022 to present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
           Case 1:24-bk-12519             Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                               Desc Main
                                                     Document      Page 42 of 64
Debtor 1     Amarjit Kaur                                                                     Case number (if known)



Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Amarjit Kaur
Amarjit Kaur                                                Signature of Debtor 2
Signature of Debtor 1

Date     October 28, 2024                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 7
             Case 1:24-bk-12519             Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                        Desc Main
                                                      Document      Page 43 of 64
LBR Form 2016-1(b)

                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF OHIO
In re:                                                                             Case No.
Amarjit Kaur
                                                                                   Chapter 13

                                                       Debtor(s)                   Judge


                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                     AND APPLICATION FOR ALLOWANCE OF FEES IN CHAPTER 13 CASE
I.      Disclosure

1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
        that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
        services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
        follows:
     For legal services, I have agreed to accept                                                 $                     4,350.00
     Prior to the filing of this statement I have received                                       $                     2,500.00
     Balance Due                                                                                 $                     1,850.00

2.      The source of the compensation paid to me was:
                 Debtor           Other (specify):

3.      The source of compensation to be paid to me is:
                 Debtor           Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other persons unless they are members and/or
             associates of my law firm.

             I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
             of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.

II.     Application

5.      I hereby apply for an allowance of fees in the amount set forth above. I understand and agree that the Court may approve,
        without itemization, an allowance of fees not to exceed $4,350, for rendering the legal services set forth below. If I seek payment
        of fees in excess of $4,350, I will file a separate application that sets forth the total amount of the fee requested, and that includes
        an itemization of all legal services performed, the amount and itemization of any expenses for which reimbursement is sought,
        the identification and hourly billing rate of any attorney, paralegal, or other professional person for whom fees are sought, and
        the actual time spend by the attorney, paralegal, or other professional person for whom fees are sought.

        a.      Initial client interview, preparation and signing of any retainer or representation agreement, analysis of the debtor's
                financial situation, and rendering advice to the debtor in determining whether, and under what chapter, to file a petition in
                bankruptcy;
        b.      Advising the debtor concerning his or her obligations and duties pursuant to the Code, the Rules, the Local Rules,
                applicable court orders, and provisions of his or her chapter 13 plan;
        c.      Preparation and filing of any document required by § 521 of the Code, including Official Form 122C-1 and Official Form
                122C-2 (if applicable), the petition, schedules, statement of financial affairs and any amendments thereto that may be
                required;
        d.      Preparation and filing of the chapter 13 plan and any preconfirmation amendments thereto that may be required; provided,
                legal services performed relative to Paragraphs 5.4.1,5.4.2 and 5.4.3 ofthe chapter 13 plan are not covered by the no-look
            Case 1:24-bk-12519           Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                       Desc Main
                                                  Document      Page 44 of 64
              fee and may be compensated through a separate application for fees; however, in such event, no additional compensation
              will be allowed for the preparation and filing of a motion pursuant to Rule 5009(d).
       e.     Preparation and filing of payroll orders and amended payroll orders, except amended payroll orders prepared in
              connection with the modification of a plan or the temporary suspension of payments;
       f.     Representation of the debtor at the § 341 meeting of creditors and confirmation hearing, and at any adjournments thereof;
       g.     Filing of address changes for the debtor;
       h.     Review of claims;
       i.     Review of notice of intention to pay claims;
       j.     Preparation and filing of objections to non-real estate and non-tax claims, exclusive of any hearings;
       k.     Preparation and filing of first motion to suspend or temporarily reduce plan payments;
       l.     Representation of the debtor in the submission of the annual tax return or the retaining of the tax refund pursuant to the
              Mandatory Form Chapter 13 Plan, exclusive of any subsequent inquiry, amendment, status report, motion, objection or
              hearing;
       m.     Filing of a notice of final cure payment, when filed by the debtor, exclusive of any hearings;
       n.     Preparation and filing of debtor’s certification regarding issuance of discharge order;
       o.     Routine phone calls and questions;
       p.     File maintenance and routine case management; and
       q.     Any other duty as required by local decision or policy.

              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
              522(f)(2)(A) for avoidance of liens on household goods.

6.            By agreement with the debtor(s), the above-disclosed fee does not include the following services:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.




October 28, 2024                                                   /s/ David Andrade
Date                                                               David Andrade
                                                                   Name
                                                                   Andrade Law Office
                                                                   214 S. Breiel BLVD
                                                                   Suite A
                                                                   Middletown, OH 45044
                                                                   5132522502
                                                                   Fax: 5133928450
                                                                   david@theandradelaw.com
                                                                   0071979 OH
              Case 1:24-bk-12519                  Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                                       Desc Main
                                                            Document      Page 45 of 64

Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Amarjit Kaur                                                                            According to the calculations required by this
                                                                                                              Statement:
Debtor 2                                                                                                            1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:        Southern District of Ohio                                            2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                         10,701.02        $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a
     business, profession, or farm            Debtor 1                  Debtor 2
       Gross receipts (before all
       deductions)                        $         58,419.66      $         17,907.67
       Ordinary and necessary
       operating expenses                -$         57,795.17 -$             16,716.17
       Net monthly income from a                                                            Copy
       business, profession, or farm      $              624.50    $           1,191.50 here -> $                 624.50       $         1,191.50
  6. Net income from rental and other real property                Debtor 1
     Gross receipts (before all deductions)                          $      0.00
       Ordinary and necessary operating expenses                       -$    0.00
       Net monthly income from rental or other real property           $     0.00 Copy here -> $                     0.00      $               0.00




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
            Case 1:24-bk-12519                  Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                                        Desc Main
                                                          Document      Page 46 of 64
Debtor 1     Amarjit Kaur                                                                              Case number (if known)



                                                                                                   Column A                      Column B
                                                                                                   Debtor 1                      Debtor 2 or
                                                                                                                                 non-filing spouse
                                                                                                   $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                     $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                        0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                   $                  0.00       $           0.00
                                                                                                   $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                     +   $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $       11,325.52             +$         1,191.50    =$         12,517.02

                                                                                                                                                     Total average
                                                                                                                                                     monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                   $         12,517.02
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                           $
                                                                                           $
                                                                                      +$

                   Total                                                               $                      0.00         Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                            $         12,517.02

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                              $         12,517.02




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                          page 2
           Case 1:24-bk-12519                     Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                      Desc Main
                                                              Document      Page 47 of 64
Debtor 1     Amarjit Kaur                                                                                  Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $    150,204.24


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                OH

      16b. Fill in the number of people in your household.                      4
      16c. Fill in the median family income for your state and size of household.                                                                    $    113,435.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                12,517.02
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                    0.00


      19b. Subtract line 19a from line 18.                                                                                                       $         12,517.02


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $     12,517.02

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $    150,204.24




      20c. Copy the median family income for your state and size of household from line 16c                                                          $    113,435.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Amarjit Kaur
       Amarjit Kaur
       Signature of Debtor 1
      Date October 28, 2024
           MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.
      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                            page 3
           Case 1:24-bk-12519          Doc 1     Filed 10/29/24 Entered 10/29/24 20:43:57                     Desc Main
                                                Document      Page 48 of 64
Debtor 1   Amarjit Kaur                                                           Case number (if known)




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period       page 4
           Case 1:24-bk-12519                 Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                                Desc Main
                                                        Document      Page 49 of 64

Fill in this information to identify your case:

Debtor 1          Amarjit Kaur

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     Southern District of Ohio

Case number
(if known)                                                                                                 Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                  04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
   the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
   expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
   122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   4
          the number of people in your household.



   National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $          2,027.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                            page 1
             Case 1:24-bk-12519                     Doc 1         Filed 10/29/24 Entered 10/29/24 20:43:57                                    Desc Main
                                                                 Document      Page 50 of 64
Debtor 1         Amarjit Kaur                                                                        Case number (if known)



   People who are under 65 years of age
           7a. Out-of-pocket health care allowance per person              $             83
           7b. Number of people who are under 65                           X         4
           7c. Subtotal. Multiply line 7a by line 7b.                      $       332.00             Copy here=>        $          332.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person              $          158
           7e. Number of people who are 65 or older                        X         0
           7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00             Copy here=>        $             0.00

           7g. Total. Add line 7c and line 7f                                                 $      332.00                   Copy total here=> $       332.00


   Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                               $               819.00
   9.      Housing and utilities - Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                     $        1,521.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                  Name of the creditor                                         Average monthly
                                                                               payment

                   -NONE-                                                      $


                                                                                                      Copy                                      Repeat this amount
                                    9b. Total average monthly payment          $              0.00    here=>        -$                  0.00 on line 33a.

           9c. Net mortgage or rent expense.

                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                   or rent expense). If this number is less than $0, enter $0.                           $           1,521.00          here=>    $       1,521.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $            0.00

            Explain why:




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                page 2
            Case 1:24-bk-12519                      Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                                             Desc Main
                                                                Document      Page 51 of 64
Debtor 1     Amarjit Kaur                                                                                       Case number (if known)


   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                 $       478.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
    Vehicle 1         Describe Vehicle 1:

   13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment
                -NONE-                                                            $

                                                                                                                                                    Repeat this
                                                                                                                 Copy                               amount on
                                       Total Average Monthly Payment              $                 0.00         here =>       -$           0.00 line 33b.

   13c. Net Vehicle 1 ownership or lease expense                                                                                               Copy net
                                                                                                                                               Vehicle 1
           Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                    expense here
                                                                                                                      $              0.00      =>              $     0.00

    Vehicle 2         Describe Vehicle 2:
   13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                -NONE-                                                            $

                                                                                                                 Copy                           Repeat this
                                                                                                                 here                           amount on line
                                       Total average monthly payment              $                 0.00                                 0.00 33c.
                                                                                                                 =>       -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                               Copy net
                                                                                                                                               Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                  expense here
                                                                                                                      $              0.00      =>              $     0.00

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                        $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                               $         0.00




Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                                          page 3
            Case 1:24-bk-12519                     Doc 1      Filed 10/29/24 Entered 10/29/24 20:43:57                               Desc Main
                                                             Document      Page 52 of 64
Debtor 1     Amarjit Kaur                                                                           Case number (if known)


   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.
   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                                $     1,466.00
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $         0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
       of life insurance other than term.                                                                                              $         0.00
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $         0.00
   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.     $         0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                       $         0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                      $         0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                     +$         0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                              $    6,643.00
       Add lines 6 through 23.
   Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                            $       1,194.00
           Disability insurance                                        $            0.00
           Health savings account                                    +$             0.00

           Total                                                           $    1,194.00        Copy total here=>                     $      1,194.00


           Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                     $

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                            $         0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
           By law, the court must keep the nature of these expenses confidential.                                                      $         0.00



Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                        page 4
            Case 1:24-bk-12519                 Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                     Desc Main
                                                          Document      Page 53 of 64
Debtor 1     Amarjit Kaur                                                                          Case number (if known)

   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
           amount claimed is reasonable and necessary.                                                                                      $             0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.             $             0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                    $             0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                            $             0.00

   32. Add all of the additional expense deductions.                                                                                        $       1,194.00
       Add lines 25 through 31.

   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
         To calculate the total average monthly payment, add all amounts that are contractually due to each secured
         creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                     Average monthly
                                                                                                                                        payment
   33a.      Copy line 9b here                                                                                                     =>   $             0.00
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                    =>   $             0.00
   33c.      Copy line 13e here                                                                                                    =>   $             0.00
   33d.      List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                     include taxes
                                                                                                                     or insurance?
                                                                                                                             No
            -NONE-                                                                                                           Yes        $

                                                                                                                             No
                                                                                                                             Yes        $

                                                                                                                             No
                                                                                                                             Yes   +    $


                                                                                                                                   Copy
                                                                                                                                   total
   33e      Total average monthly payment. Add lines 33a through 33d                                   $                    0.00   here=>       $      0.00




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                                    page 5
             Case 1:24-bk-12519                               Doc 1           Filed 10/29/24 Entered 10/29/24 20:43:57                                         Desc Main
                                                                             Document      Page 54 of 64
Debtor 1      Amarjit Kaur                                                                                             Case number (if known)

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.
    Name of the creditor                                         Identify property that secures the debt                    Total cure amount                     Monthly cure
                                                                                                                                                                  amount
    -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                          Copy
                                                                                                                                                          total
                                                                                                                Total $                         0.00      here=>           $         0.00

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.
                         Total amount of all past-due priority claims                                                       $                   0.00       ÷ 60        $             0.00
   36. Projected monthly Chapter 13 plan payment                                                                            $
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).                                           X
       To find a list of district multipliers that includes your district, go online using the link specified in the
       separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                        Copy total
       Average monthly administrative expense                                                                                   $                       here=> $



   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                           $          0.00


   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                      $        6,643.00
           Copy line 32, All of the additional expense deductions                                  $        1,194.00
           Copy line 37, All of the deductions for debt payment                                   +$              0.00


           Total deductions....................................................................    $        7,837.00                Copy total here=>              $             7,837.00




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                             page 6
           Case 1:24-bk-12519                Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                                    Desc Main
                                                        Document      Page 55 of 64
Debtor 1   Amarjit Kaur                                                                         Case number (if known)



Part 2:     Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                        $                  12,517.02
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                         $                 0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                             $                 0.00
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here          =>    $            7,837.00
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.

   Describe the special circumstances                                              Amount of expense

                                                                               $

                                                                               $

                                                                               $

                                                                                                       Copy
                                                                    Total $                0.00        here=> $                  0.00


                                                                                                                            Copy
   44. Total adjustments. Add lines 40 through 43.                                         =>      $          7,837.00      here=> -$            7,837.00


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                               $          4,680.02


Part 3:     Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
       time your case will be open, fill in the information below. For example, if the wages reported increased after
       you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
       wages increased, fill in when the increase occurred, and fill in the amount of the increase.

   Form          Line         Reason for change                                     Date of change          Increase or      Amount of change
                                                                                                            decrease?
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                                 page 7
            Case 1:24-bk-12519                 Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                               Desc Main
                                                          Document      Page 56 of 64
Debtor 1     Amarjit Kaur                                                                        Case number (if known)




Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Amarjit Kaur
            Amarjit Kaur
            Signature of Debtor 1
   Date October 28, 2024
        MM / DD / YYYY




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                              page 8
           Case 1:24-bk-12519          Doc 1       Filed 10/29/24 Entered 10/29/24 20:43:57                  Desc Main
                                                  Document      Page 57 of 64
Debtor 1   Amarjit Kaur                                                           Case number (if known)




                                     Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 04/01/2024 to 09/30/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: TATA Consultancy services
Income by Month:
 6 Months Ago:                      04/2024              $14,566.93
 5 Months Ago:                      05/2024               $9,025.38
 4 Months Ago:                      06/2024               $9,025.38
 3 Months Ago:                      07/2024               $9,025.38
 2 Months Ago:                      08/2024              $13,538.07
 Last Month:                        09/2024               $9,025.00
                          Average per month:             $10,701.02




Line 5 - Income from operation of a business, profession, or farm
Source of Income: Kapish Freight Brokerage LLC
Income/Expense/Net by Month:
                         Date                           Income                          Expense                   Net
 6 Months Ago:                  04/2024                        $4,325.00                         $4,532.00              $-207.00
 5 Months Ago:                  05/2024                        $4,723.00                         $4,825.00              $-102.00
 4 Months Ago:                  06/2024                        $3,533.00                         $3,723.00              $-190.00
 3 Months Ago:                  07/2024                        $3,428.00                         $3,523.00               $-95.00
 2 Months Ago:                  08/2024                        $2,358.00                         $2,453.00               $-95.00
 Last Month:                    09/2024                        $2,050.00                         $2,341.00              $-291.00
                     Average per month:                        $3,402.83                         $3,566.17
                                                                           Average Monthly NET Income:                  $-163.33




Line 5 - Income from operation of a business, profession, or farm
Source of Income: Keshav Transport LLC
Income/Expense/Net by Month:
                         Date                           Income                          Expense                   Net
 6 Months Ago:                  04/2024                      $25,954.00                        $26,467.00             $-513.00
 5 Months Ago:                  05/2024                      $38,216.00                        $34,793.00            $3,423.00
 4 Months Ago:                  06/2024                      $50,862.00                        $46,592.00            $4,270.00
 3 Months Ago:                  07/2024                      $76,349.00                        $75,757.00              $592.00
 2 Months Ago:                  08/2024                      $88,027.00                        $84,308.00            $3,719.00
 Last Month:                    09/2024                      $50,693.00                        $57,457.00           $-6,764.00
                     Average per month:                      $55,016.83                        $54,229.00
                                                                           Average Monthly NET Income:                   $787.83




Official Form 122C-2                       Chapter 13 Calculation of Your Disposable Income                             page 9
           Case 1:24-bk-12519         Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57               Desc Main
                                                  Document      Page 58 of 64
Debtor 1   Amarjit Kaur                                                         Case number (if known)


                             Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 04/01/2024 to 09/30/2024.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: Kapish Trucking LLC
Income/Expense/Net by Month:
                         Date                          Income                         Expense                  Net
 6 Months Ago:                  04/2024                    $15,438.00                        $14,358.00              $1,080.00
 5 Months Ago:                  05/2024                    $18,235.00                        $17,557.00                $678.00
 4 Months Ago:                  06/2024                    $17,328.00                        $16,358.00                $970.00
 3 Months Ago:                  07/2024                    $16,534.00                        $15,332.00              $1,202.00
 2 Months Ago:                  08/2024                    $18,553.00                        $17,257.00              $1,296.00
 Last Month:                    09/2024                    $21,358.00                        $19,435.00              $1,923.00
                     Average per month:                    $17,907.67                        $16,716.17
                                                                         Average Monthly NET Income:                 $1,191.50




Official Form 122C-2                     Chapter 13 Calculation of Your Disposable Income                             page 10
          Case 1:24-bk-12519                   Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                       Desc Main
                                                           Document      Page 59 of 64

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
          Case 1:24-bk-12519                   Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                           Desc Main
                                                           Document      Page 60 of 64


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
          Case 1:24-bk-12519                   Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                          Desc Main
                                                           Document      Page 61 of 64
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
          Case 1:24-bk-12519                   Doc 1        Filed 10/29/24 Entered 10/29/24 20:43:57                          Desc Main
                                                           Document      Page 62 of 64
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
    Case 1:24-bk-12519   Doc 1    Filed 10/29/24 Entered 10/29/24 20:43:57   Desc Main
                                 Document      Page 63 of 64


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                         Amazon Prime Store Card
                         410 Terry Ave N
                         Seattle, WA 98109-5210

                         American Express
                         200 Vesey St
                         New York City, NY 10001

                         American Express
                         PO Box 6031
                         Carol Stream, IL 60197-6031

                         at &t
                          208 S. Akard Street, Suite 2954,
                         Dallas, TX 75202

                         At Home DC by Synchrony Bank
                         777 Long Ridge Rd
                         Stamford, CT 06902

                         Bank of America
                         PO BOX 982238
                         El Paso, TX 79998

                         Barclays Bank
                         PO BOX 8803
                         Wilmington, DE 19899

                         Best Buy
                         7601 Penn Ave S
                         Minneapolis, MN 55423

                         Capital One
                         P.O. Box 31293
                         Salt Lake City, UT 84131

                         Chase Bank
                         270 Park Ave
                         New York, NY 10017

                         Citi Bank
                         PO BOX 6241
                         Sioux Falls, SD 57117

                         Dillards Mastercard
                         1600 Cantrell Rd
                         Little Rock, AR 72201

                         Discover
                         2500 Lake Cook Rd
                         Deerfield, IL 60015

                         Discover personal loans
                         PO Box 30943
                         Salt Lake City, UT 84130
Case 1:24-bk-12519   Doc 1    Filed 10/29/24 Entered 10/29/24 20:43:57   Desc Main
                             Document      Page 64 of 64



                     fifth third
                     38 Fountain Square Plaza,
                     Cincinnati, OH 45263

                     Fifth Third Bank
                     38 Fountain Square Plaza
                     Cincinnati, OH 45263

                     Mercedes-Benz Financial Services
                     35555 W 12 Mile Rd
                     Farmington, MI 48331

                     Microf LLC
                     2849 Paces Ferry Road SE
                     Suite 625
                     Atlanta, GA 30339

                     Pentagon Federal Credit
                     2930 Eisenhower Ave
                     Alexandria, VA 22314

                     SoFi Bank
                     234 1st St
                     San Francisco, CA 94105

                     TD BANK USA/TARGETCREDIT
                     PO BOX 673
                     Minneapolis, MN 55440
